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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

ROBERT AVERY, an individual,

       Plaintiff,

v.                                                     Case No: 8:16-cv-2646-MSS-JSS

BLUESTEM ENTERPRISES, INC., a
Foreign For-Profit Corporation,

       Defendant.


                      ORDER OF DISMISSAL WITH PREJUDICE

       Upon consideration of the Parties’ Joint Stipulation for Dismissal with Prejudice,

(Dkt. 20) and pursuant to Fed.R.Civ. P. 41, it is hereby

       ORDERED that this case is DISMISSED WITH PREJUDICE. Each party shall

bear its own attorneys’ fees and costs associated with this matter pursuant to the Parties’

settlement terms. The Clerk is directed to terminate any pending motions and CLOSE

this case.

       DONE and ORDERED at Tampa, Florida this 11th day of April, 2017.




Copies furnished to:
Counsel of Record
Any Unrepresented Party
